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                                                                                               FN'S OFFICE
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                                                                                          AUG 2 2 2003
                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF GEORGIA                       LUTi': : .
                                     ATLANTA DIVISION                                                puty


      SIRIUS SOFTWARE, INC ., and
      TENNIS TECHNOLOGIES, INC .,

                     Plaintiffs,                         CIVIL ACTION

            v .                                          N0 .    1 :02-CV-3393-CAP

      FISHER INFORMATION SERVICES,               a
      sole proprietorship a/k/a
      Ronald Fisher,

                     Defendant .




                                             O R D E R


          By order dated July 7,            2003,      the court directed plaintiffs to

  demonstrate          that   they    had   effectuated          service    of   process       on   the

  defendant .          The    court    directed         the     plaintiffs       to    provide      the

  required         documentation      within         twenty     (20)   days .     The     plaintiffs

  have not complied with or otherwise responded to the order of this

  court .         Accordingly,     this action is DISMISSED without prejudice for

  failure to effectuate service of process and failure to comply with

  a    lawful order of this           court. .




          SO ORDERED,         this           day of August,            2003 .
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                                                 CHARLES A . PANNELIt-, J,R .
                                                 United States District Judge
